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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


IN RE: KATRINA CANAL BREACHES                       CIVIL ACTION
CONSOLIDATED LITIGATION                             NUMBER: 05-4182 “K”(2)
                                                    JUDGE DUVAL
                                                    MAG. WILKINSON


PERTAINS TO: Robinson
(No. 06-2268)


                  PLAINTIFFS’ NOTICE OF MANUAL ATTACHMENT

       Pursuant to the United States District Court, Eastern District of Louisiana’s Unique

Procedures and Practices for Electronic Filing, Appendix “J” submitted in support of Plaintiffs’

Post Trial Brief will be manually submitted, due to size limitations, on the Court via hard copy,

and on Defendant via offsite internet upload.

Dated: June 18, 2009                                 Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I, Pierce O’Donnell, hereby certify that on June 18, 2009, I caused to be served

PLAINTIFFS’ NOTICE OF MANUAL ATTACHMENT, upon Defendants’ counsel, Robin

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                                      /s/ Pierce O’Donnell




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